     IN THE UNITED STATES BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT
                       OF ALABAMA, SOUTHERN DIVISION

In re:                                                     CASE No. 18-00467
       Larry E Bridges
       Sharon B Bridges
Debtor(s)                                                  Chapter 7

                                           RULE 3011 NOTICE

TO THE HONORABLE Andrea Redmon,
CLERK, U.S. BANKRUPTCY COURT:

        In accordance with Bankruptcy Rule 3011, I am attaching herewith my check as Trustee for the
above-referenced bankruptcy estate for the amount of $12,857.68, covering dividends unclaimed for more
than ninety (90) days after the distribution of the final dividend. I certify that I have reviewed the proof of
claim and made a diligent attempt to locate the claimants of these unclaimed funds.

        The name and mailing address of the person entitled to such payment, as reflected on the proof of
claim, and the amount thereof, is as follows:

 Creditor Name & Address                                                  Check#        Amount $
 Larry E. Bridges                                                         111                 $12,857.68
 11211 State Hwy 104
 Fairhope, AL 36532
                                                                          TOTAL                $ 12,857.68


         Respectfully submitted this date, February 16, 2022,

                                                   /s/ D. Parker Sweet
                                                   Daniel Parker Sweet (SWEED1464)
                                                   Chapter 7 Trustee
                                                   trustee@sweetlawalabama.com
                                                   (251)626-3322
                                                   P.O. Box 537
                                                   Daphne, AL 36526


Reviewed by:          /s/ Heidi Fundinger
                 ____________________________________
                 U.S. Bankruptcy Administrator’s Office


       2/16/2022
Date:_______________




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